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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION



ENOCH D. HALL,
    Petitioner,

v.                                                        CASE NO.: 6:17-cv-762-Orl-37GJK

SECRETARY, FLORIDA
DEPARTMENT OF CORRECTIONS
And ATTORNEY GENERAL,
STATE OF FLORIDA
      Respondent,
_________________________________/

     PETITIONER’S AMENDED MOTION FOR NUNC PRO TUNC APPOINTMENT OF
             COUNSEL PURSUANT TO THE CRIMINAL JUSTICE ACT

          Pursuant to 18 U.S.C. § 3001 et seq., 18 U.S.C. § 3599, and McFarland v. Scott, 512 U.S.

849 (1994), Petitioner respectfully moves for an order appointing the Office of the Capital

Collateral Regional Counsel-Middle (CCRC-M) as counsel to represent him in this federal

habeas corpus action. In support of the motion, Petitioner shows:

          1. Petitioner is a prisoner presently under a sentence of death in the State of Florida.

          2. Petitioner is seeking federal habeas corpus relief in this district court.

          3. Petitioner is indigent, was permitted to proceed in forma pauperis in his state

postconviction court proceedings and is unable to pay costs incident to a 28 U.S.C. § 2254

action.

          4. CCRC is a state agency charged with the statutory responsibility of providing legal

representation in both state and federal capital postconviction proceedings to any person

convicted and sentenced to death in Florida who is without counsel due to his indigency. Part IV,


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Chapter 27, Florida Statutes (2019), is the CCRC enabling statute.

          5. CCRC has been the attorney of record for Petitioner in his state postconviction

proceedings since February 18, 2013. It is the policy of the Eleventh Circuit that where the

experience of counsel is apparent and no potential conflict of interest exists, district judges

should appoint the same lawyers involved in the state postconviction and habeas proceedings as

counsel in the federal habeas proceedings.

          6. The trial court’s denial of Petitioner’s Rule 3.851 postconviction motion was upheld by

the Florida Supreme Court and the Mandate was issued April 13, 2017. On April 27, 2017,

Petitioner filed his Petition under 28 U.S.C. §2254 for Writ of Habeas Corpus. Petitioner asked

this Court to stay his federal petition while he litigated issues in State court that arose out of

Hurst v. Florida, 136 S. Ct. 616 (2016) subsequent to his original Rule 3.851 postconviction motion.

(Doc 11) This Court granted the stay and ordered Petitioner to file with the Court, every ninety

(90) days, a “Notice Regarding the Status of State Court Exhaustion.” (Doc 12). On February

19, 2019, the United States Supreme Court, in USSC Case No. 18-6901, denied certiorari

concerning Petitioner’s successive State postconviction action. Upon exhaustion of Petitioner’s

successive State postconviction motion concerning issues arising out of Hurst, Petitioner moved

this Court to lift the stay and allow him to amend his original Petition. (Doc 29)

          7. CCRC will require the services of investigators and experts to represent Petitioner.

These services may be approved under subsection (e) of the Criminal Justice Act and § 21 U.S.C.

848(q).

          8. The State of Florida, unlike many jurisdictions, has established a statutory right to

counsel in capital postconviction proceedings. It has created and has specially funded CCRC to

provide counsel to death-sentenced inmates in postconviction collateral actions. CCRC

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representation extends to both the state and federal system to ensure continuity of counsel.

       9. Both the United States Judicial Conference and the Eleventh Circuit have recognized

that Criminal Justice Act funds are appropriate for jurisdictions such as Florida which have made

a substantial fiscal contribution to providing counsel for death-sentenced inmates.

       10. Section 27.702(3)(a) Florida Statutes (2019) states:

               (3) The capital collateral regional representative shall file motions
               seeking compensation for representing and reimbursement
               pursuant to 18 U.S.C. s. 3006A when providing representation to
               indigent persons in the federal court, and shall deposit such
               payments received into the Capital Collateral Trust Fund.

       WHEREFORE, Petitioner requests:

       1. CCRC be appointed counsel for Petitioner pursuant to 18 U.S.C. § 3006A et seq., and

18 U.S.C. § 3599 and that the date of appointment be entered nunc pro tunc to February 19,

2019, the date the United States Supreme Court denied certiorari concerning Petitioner’s

successive State postconviction action by the Florida Supreme Court. All state court issues were

exhausted by this date.

       2. Petitioner be authorized, after appropriate application, to obtain investigative, expert or

other services pursuant to 18 U.S.C. § 3006A(e) and 18 U.S.C. § 3599(f).

       3. CCRC be awarded attorney compensation to be paid to the Capital Collateral Regional

Counsel Trust Fund.

                                              Respectfully submitted,

                                              /s/ Ann Marie Mirialakis
                                              ANN MARIE MIRIALAKIS
                                              FBN: 0658308
                                              Assistant CCRC
                                              CAPITAL COLLATERAL REGIONAL
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                                          Temple Terrace, FL 33637
                                          (813) 558-1600
                                          Attorney for Petitioner




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true copy of the foregoing PETITIONER’S AMENDED

MOTION FOR NUNC PRO TUNC APPOINTMENT OF COUNSEL PURSUANT TO THE

CRIMINAL JUSTICE ACT will be furnished electronically by the Clerk of the Court through the

CM/ECF system to Doris Meacham, Assistant Attorney General,

Doris.Meacham@myfloridalegal.com and CapApp@myfloridalegal.com on the 2nd day of

October, 2019.


                                          /s/ Ann Marie Mirialakis
                                          ANN MARIE MIRIALAKIS
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